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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TENNESSEE
                               WESTERN DIVISION


 AMERICAN CLOTHING EXPRESS, INC.,
 D/B/A ALLURE BRIDALS AND JUSTIN
 ALEXANDER, INC.,

                      Plaintiffs,                   Case No. 2:20-cv-02007-SHM-dkv

 v.

 CLOUDFLARE, INC. and DOES 1 - 200,
 inclusive,

                      Defendants.


 ______________________________________________________________________________

   ORDER GRANTING UNOPPOSED MOTION FOR SCHEDULING CONFERENCE
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        Before the Court is Plaintiffs’ March 14, 2022 unopposed motion for scheduling

 conference (D.E. 91). For good cause shown, the motion is GRANTED.

        IT IS HEREBY ORDERED that the Telephone Scheduling Conference is set for

 Thursday, April 14, 2022 at 1:45 p.m.

        ENTERED this 14th day of March, 2022.



                                                /s/ Samuel H. Mays, Jr.____________
                                                SAMUEL H. MAYS, JR.
                                                UNITED STATES DISTRICT JUDGE
